Case
 Case23-30960
      23-30960 Document
                Document131-13
                         94-2 Filed
                               FiledininTXSB
                                         TXSBon
                                              on06/15/23
                                                 07/27/23 Page
                                                           Page11ofof22




                  Exhibit B
          Case
           Case23-30960
                23-30960 Document
                          Document131-13
                                   94-2 Filed
                                         FiledininTXSB
                                                   TXSBon
                                                        on06/15/23
                                                           07/27/23 Page
                                                                     Page22ofof22


                                 Liquidation Analysis

                                                                          Estimated
                             ASSETS                                   Liquidation Value
Cash                                                                 $               ‐
Accounts Receivable                                                  $          7,973.20
Software                                                             $               ‐
Internet Domains                                                     $               ‐
Patents                                                              $        640,000.00
               Total Debtors' Assets at Liquidation                  $       647,973.20

                           LIABILITIES

Less: Total Estimated Administrative Expenses                        $       80,000.00
Estimated Percentage Recovery on Administrative Claims                            100%
Balance Remaining For Secured/Priority Tax Claims                    $      567,973.20

Less: Total Secured/Priority Tax Claims                              $       16,404.26
Estimated Percentage Recovery on Secured/Priority Tax Claims                      100%
Balance Remaining For Secured Claims                                 $      551,568.94

Less: Total Secured Claims                                           $    1,618,176.56
Estimated Percentage Recovery on Secured Claims
                                                              SBA                  100%
                                                              EDH                11.10%
                                                      Joshua Adler                0.00%
Balance Remaining For Priority Unsecured Claims                      $              ‐

Less: Total Priority Unsecured Claims                                $        13,650.00
Estimated Percentage Recovery on Priority Unsecured Claims                            0%
Balance Remaining For General Unsecured Creditors                    $              ‐

Less: Total General Unsecured Claims                                 $    7,108,583.43
Estimated Percentage Recovery on General Unsecured Claims                           0%
